                                  CASE 0:20-cr-00290-PJS-DTS Doc. 11 Filed 01/11/21 Page 1 of 1

                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                )          COURT MINUTES - CRIMINAL
                                                         )               BEFORE: HILDY BOWBEER
                                      Plaintiff,         )                  U.S. Magistrate Judge
                                                         )
   v.                                                    )   Case No:           20-cr-290 PJS/DTS
                                                         )   Date:              January 11, 2020
Corey Davis, Jr,                                         )   Court Reporter:    Lynne Krenz
                                                         )                       Video Conference
                                      Defendant,         )   Time Commenced:    2:23 p.m. / 3:12 p.m.
                                                             Time Concluded:    3:05 p.m. / 3:30 p.m.
                                                             Time in Court:     1 hour


X DETENTION HRG ONLY



APPEARANCES:
   Plaintiff: Samantha Bates, Assistant U.S. Attorney
   Defendant: James Becker, Assistant Federal Public Defender
                  X FPD


On X Indictment

X Deft Ordered Detained - Govt to submit proposed order.


Additional Information:
X Defendant arraigned, see arraignment minutes and order.
X Defendant consents to this hearing via video conference.




                                                                                                            s/ACH
                                                                                   Signature of Criminal Duty Clerk




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